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                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

URUJA RAZZAK,                                           )
                                                        )
                                Plaintiff,              )
                                                        )
                v.                                      )       Case No. 1:22-cv-3990
                                                        )
ROUNDY’S ILLINOIS, LLC,                                 )       Hon. Sharon Johnson Coleman
d/b/a MARIANO’S,                                        )
                                                        )
                                Defendant.              )

                  DEFENDANT’S RESPONSE BRIEF IN OPPOSITION TO
                      PLAINTIFF’S MOTION TO STAY BRIEFING

        Defendant, Roundy’s Illinois, LLC d/b/a Mariano’s (“Defendant,” or “Mariano’s”), by and

through its undersigned counsel, respectfully submits this response brief in opposition to Plaintiff’s

Motion to Stay Briefing Schedule (Dkt. 16) on Mariano’s pending Motion to Dismiss (Dkt. 12).

                                     PRELIMINARY STATEMENT

        The Court has already considered – and denied – Plaintiff’s request to stay briefing on

Mariano’s Motion to Dismiss.         On September 21, 2022, Mariano’s counsel appeared at a

telephonic hearing for the presentment of Mariano’s Motion to Dismiss. (Dkt. 14). During that

hearing, Plaintiff’s counsel represented to the Court that the plaintiff in another lawsuit against

Mariano’s, Cunningham v. Mariano’s, Case No. 21-cv-5368, would be moving (by September 23,

2022, at the latest) to consolidate fifteen cases against Mariano’s.1

        On that basis, Plaintiff orally moved to stay briefing on Mariano’s Motion to Dismiss.

Plaintiff’s counsel explained all the reasons that the Court should enter a stay. Mariano’s

responded in opposition, and explained why there is no reason to stay briefing. In particular,



1
  This turned out to be false. The Cunningham plaintiff did not move until September 30, 2022, and still,
technically, has not actually moved for consolidation.
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Mariano’s explained: (a) that Plaintiff and the other plaintiffs represented by the same counsel

have already made several failed attempts to litigate their cases together, and (b) even if

consolidation were appropriate, there would be no reason to delay briefing the dismissal motion.

The Court took Plaintiff’s oral motion to stay under advisement—in part, to look into the long

history of these cases, which the parties had described during the hearing. The following day, the

Court denied Plaintiff’s oral motion to stay briefing, and set a briefing schedule. (Dkt. 15).

        Apparently under the misapprehension that the Court’s rulings are mere suggestions,

Plaintiff has now moved again to stay briefing on Mariano’s Motion to Dismiss.

        As Mariano’s explained during the telephonic hearing, Plaintiff has no grounds to request

a stay in this case, based upon a motion that another plaintiff intends to file in an entirely different

lawsuit. Mariano’s pending Motion to Dismiss is based on a specific set of unique facts and

circumstances that pertain only to this particular Plaintiff. There is no reason for this Court to stay

briefing on Mariano’s motion simply because his lawyer intends to ask another judge (Hon.

Virginia Kendall) in a different lawsuit (Cunningham v. Mariano’s, Case No. 21-cv-5368) for the

extraordinary relief of “re-consolidating” this case back into that lawsuit.2 Instead, there are

several reasons why this Court should deny a stay.

        First, Plaintiff’s claims were already dismissed with prejudice, so Mariano’s should not be

forced to endure any further delay or expense. Second, the parties seeking consolidation –

including the Plaintiff in this action, and the plaintiff in Cunningham – have already sought to have

their claims adjudicated before a single judge, and have received several rulings prohibiting them


2
  Technically, plaintiff’s counsel in Cunningham has not yet filed a motion to consolidate under FED. R.
CIV. P. 42, or to reassign under Local Rule 40.4; rather, he merely sought leave to file an enlarged brief in
support of his supposedly forthcoming motion. See, Cunningham, Dkt. 40. Once plaintiff’s counsel files
his motion to consolidate in Cunningham, there is little chance that Judge Kendall will actually entertain
his request. She has already decided this issue against the Plaintiff and his counsel, by virtue of her July 6,
2022, severance order – which was the culmination of nearly eight months of hotly-contested litigation.
Id., Dkt. 29.

                                                      2
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from adjudicating their claims together. Accordingly, there is little reason to think that the cases

will ever be re-consolidated. And third, even if the cases were re-consolidated, each plaintiff

would still need to respond to each of Mariano’s pending motions to dismiss, so there is no reason

to delay briefing on the Motion to Dismiss in this action.

                                       PROCEDURAL HISTORY

        On November 1, 2018, James Haugen sued Mariano’s for alleged violations of the Fair

Labor Standards Act (and ancillary state laws and local wage ordinances), on his own behalf and

on behalf of other similarly situated People Service Managers (“PSMs,” which are store-level

human resources managers employed at each Mariano’s store location). See Haugen, et al. v.

Roundy’s Illinois, LLC d/b/a Mariano’s, Case No. 18-cv-7297 (N.D. Ill.), Dkt. 1. Mr. Haugen

alleged that Mariano’s misclassified him and other PSMs as “exempt,” and consequently violated

the FLSA by failing to pay “time-and-a-half” for overtime hours worked. Id. at ¶ 5. Mr. Haugen

framed his lawsuit as a putative collective FLSA action under 29 U.S.C. § 216(b) and sought to

serve as the lead plaintiff.3

        After “Phase I” discovery, Judge Bucklo granted conditional certification of Haugen as a

collective action. Haugen, Dkt. 51. Twenty-eight (28) plaintiffs eventually opted in, including

Plaintiff. The parties began conducting “Phase II” discovery to determine whether there was

sufficient similarity among the plaintiffs to allow the matter to proceed collectively on the merits.

During Phase II, the parties took extensive discovery that included document requests,

interrogatories, more than a dozen (12) depositions. At the conclusion of Phase II discovery,


3
  By way of background, courts typically employ a two-part test to determine whether employees are
“similarly situated” such that an FLSA action may proceed on a collective basis. “At the first stage, a
named plaintiff ‘can show that the potential claimants are similarly situated by making a modest factual
showing sufficient to demonstrate that they and potential plaintiffs together were victims of a common
policy or plan that violated the law.’” Camilotes v. Resurrection Health Care Corp., 286 F.R.D. 339, 345
(N.D. Ill. 2012) (quoting Franks v. MKM Oil, Inc., No. 10 CV 00013, 2012 WL 3903782, at *9 (N.D. Ill.
Sept. 7, 2012)). “At the second stage, however, the court’s inquiry becomes more stringent.” Id.

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Mariano’s moved to decertify the conditionally-certified collective action on the basis that the

plaintiffs were not “similarly situated” to one another. Haugen, Dkt. 109.

        After examining the parties’ extensive briefing and the evidence gathered in discovery,

Judge Bucklo ruled that the plaintiffs were not similarly situated to each other under Section 216(b)

of the FLSA. On that basis, she granted Mariano’s motion to decertify the putative collective

action and dismissed the opt-in plaintiffs, including Plaintiff. Haugen v. Roundy’s Illinois, LLC,

552 F. Supp. 3d 806, 811 (N.D. Ill. 2021). Judge Bucklo noted, “in light of the individualized

factual issues that would predominate, the interests of judicial economy would not be served by

allowing the claims to proceed on a collective basis.” Id. This was the first of several rulings

prohibiting the plaintiffs from litigating their claims against Mariano’s together.

        The dismissed plaintiffs later sought clarification regarding Judge Bucklo’s

decertification/dismissal order. In response, Judge Bucklo entered an order allowing the dismissed

plaintiffs to refile their actions only “on an individual basis” by October 4, 2021, thereby marking

the second ruling prohibiting the plaintiffs from litigating their claims together. Haugen, Dkt. 131.

        On October 8, 2021, Plaintiff and twenty-two (22) of the other dismissed plaintiffs jointly

(and untimely4) refiled their claims in a single lawsuit, Cunningham, et al. v. Roundy’s Illinois,

LLC d/b/a Mariano’s, Case No. 1:21-cv-05368 (N.D. Ill.), before Judge Kendall, hoping that a

different judge would allow their cases to proceed as a de facto collective action. Cunningham,

Dkt. 1. By refiling their disparate claims in a single action, plaintiffs violated both the letter and

the spirit of Judge Bucklo’s rulings. Thus, Mariano’s moved, under FED. R. CIV. P. 20 and 21, to

sever the disparate claims of each Cunningham plaintiff into separate actions. Cunningham, Dkt.




4
 As explained in Mariano’s pending Motion to Dismiss in this action, Judge Bucklo’s “without prejudice”
dismissal of Plaintiff ripened into a “dismissal with prejudice” when Plaintiff failed to re-file by the October
4, 2021, deadline.


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11 & Dkt. 12. On July 6, 2022, Judge Kendall granted Mariano’s motion and severed each

plaintiff, explaining, “[j]ust as the claims asserted in Haugen were unsuitable for collective

treatment, it is improper for this case to proceed with twenty-three individual Plaintiffs with such

disparate claims….” Cunningham, Dkt. 29 at 9. She required each plaintiff to refile his or her

severed claims in a separate action by August 5, 2022. Cunningham, Dkt. 30. This was the third

ruling prohibiting plaintiffs from litigating their claims together.

        In early August 2022, Plaintiff refiled individually under the above-captioned case number.

However, the plaintiffs yet again attempted to get the Court to litigate their claims together, this

time by way of a de facto consolidation. Plaintiff, along with the other severed plaintiffs, falsely

stated on their civil cover sheets in the new actions that Judge Kendall had dismissed (as opposed

to severed) them from Cunningham.5 Accordingly, under Local Rule 40.3(b)(2), the Clerk

assigned all the cases back to Judge Kendall. The plaintiffs’ scheme worked (at least temporarily);

by improperly marking the severed claims as “previously dismissed” by the Cunningham court,

the plaintiffs managed to circumvent the Local Rules and get their severed claims and disparate

lawsuits back before Judge Kendall without moving for consolidation or reassignment. After

several days of discussion with the Clerk’s Office (including, according to plaintiff’s counsel, a

meeting with Chief Clerk Thomas Burton, a consultation with the Executive Committee, and

“Judge Kendall hoping for reassignment”), Judge Kendall entered a clarification order, directing

the Clerk’s Office “to randomly assign each severed case by lot to an active Judge.” Cunningham,

Dkt. 37. This marked the fourth time the plaintiffs had been prohibited from litigating their claims

together before the same judge.




5
  This distinction is important. “When a federal civil action is severed, it is not dismissed. Instead, the
clerk of court creates multiple docket numbers for the action already on file, and the severed claims proceed
as if suits had been filed separately.” Lee v. Cook County, Ill., 635 F.3d 969 (7th Cir. 2011).

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       On or around August 19, 2022, the Clerk’s Office reassigned this case to Your Honor. On

September 16, 2022, Mariano’s moved to dismiss Plaintiff’s complaint under Rule 12(b)(6), on

the ground that: (a) Plaintiff’s claims were dismissed with prejudice from Haugen, such that

Plaintiff is barred from bringing those claims again here; and (b) even if the claims had not been

dismissed with prejudice, the statute of limitations bars at least some (if not all) of Plaintiff’s

claims. Although Mariano’s has moved to dismiss in other “PSM cases,” the motions are not

“identical.” Not only do various plaintiffs assert different claims (depending, in part, on the

Mariano’s location at which a particular plaintiff worked), but each of their claims accrued on

different dates, requiring a unique statute of limitations analysis for each particular plaintiff.

       On September 21, 2022, Mariano’s appeared for a telephonic hearing before Your Honor

to present the motions to dismiss it had filed in two matters: Razzak v. Mariano’s (Case No. 22-

cv-03990), and Prgam v. Mariano’s (Case No. 22-cv-04034). (Dkt. 14). Plaintiff’s counsel (who

represents the plaintiffs in those cases, as well as every other PSM plaintiff in these various cases)

appeared as well, and argued during the hearing that Your Honor should stay briefing on Mariano’s

motions to dismiss until after Judge Kendall has ruled on the issue of re-consolidation. Your Honor

considered that argument and, the following day, ultimately rejected it by setting a briefing

schedule on the motions to dismiss:

           MINUTE entry before the Honorable Sharon Johnson Coleman:
           Presentment hearing held on Defendant’s Rule 12(b)(6) Motion to Dismiss
           [12] on 09/21/2022. The parties provided background information
           regarding the underlying cases from which the instant case arose, Haugen
           et al. v. Roundy's Illinois, LLC, 18-cv-7297 (Bucklo, J.), and Cunningham
           et al. v. Roundy's Illinois, LLC, 21-cv-5368 (Kendall, J.). In addition,
           plaintiff’s counsel informed the Court that plaintiff intends to bring a
           motion for consolidation under FRCP 42(a) before Judge Kendall seeking
           to consolidate multiple individual actions stemming from Judge Kendall’s
           recent severance ruling in the Cunningham case. Regardless, the Court
           finds that it is appropriate to enter a briefing schedule on defendant’s
           motion to dismiss at this time. Plaintiff’s response will be due by
           10/20/2022, and defendant’s reply will be due by 11/03/2022. Should the
           outcome of plaintiff’s forthcoming consolidation motion before Judge

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            Kendall warrant an adjustment to that schedule or to the Court’s
            consideration of the motion, the Court will make any such determination at
            a later date. Telephone status hearing set for 10/05/2022 is stricken.

(Dkt. 15) (emphasis added).

        On September 29, 2022, plaintiff’s counsel filed a motion in the Cunningham case, seeking

leave to file an enlarged brief in support of his proposed “Motion to Consolidate,” a draft copy of

which he included as an exhibit thereto. See, Cunningham, Dkt. 40-1. Plaintiff now (again) seeks

to stay briefing on Mariano’s pending Motion to Dismiss in this action.

                                               ARGUMENT

        Plaintiff provides no legitimate reason to stay briefing on Mariano’s pending Motion to

Dismiss. However, there are several reasons why the Court should deny Plaintiff’s requested stay.

            A. Plaintiff’s Claims Have Been Dismissed with Prejudice.

        As explained in Mariano’s pending Motion to Dismiss, the claims Plaintiff seeks to assert

in this action have already been dismissed with prejudice. (See, Def.’s Mo. to Dismiss, at pp. 6-

9). When Judge Bucklo decertified the collective action in Haugen, she dismissed the claims of

all decertified plaintiffs (including Plaintiff in this case) “without prejudice,” with the directive

that they “may re-file their claims dismissed by this court on an individual basis on or before

October 4, 2021.” Haugen, Dkt. 125, and Dkt. 131. But Plaintiff did not re-file by October 4,

2021, as Judge Bucklo had ordered. Instead, Plaintiff waited until October 8, 2021, to re-file those

claims as part of the Cunningham case. By that time, Judge Bucklo’s “without-prejudice”

dismissal of Plaintiff’s claims had already ripened into a “with-prejudice” dismissal.6


6
 Ordinarily, “when a court dismisses a case without prejudice subject to the condition that a plaintiff must
perform a certain action, such as filing an amended complaint, within a specified time, then upon the
plaintiff’s failure to perform that action the dismissal ripens into a dismissal with prejudice.” Johnson v.
Schoen, 2011 WL 245569, at *1 (S.D. Ill. Jan. 26, 2011). Indeed, as the Seventh Circuit has explained,
where a court imposes a condition on a without-prejudice dismissal, “[w]hen the condition is no longer
satisfiable, the dismissal becomes one with prejudice….” Otis v. City of Chicago, 29 F.3d 1159, 1164 (7th
                                                                           – Footnote Cont’d Next Page…

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        Because the Plaintiff’s claims have already been dismissed with prejudice, Mariano’s

should not be required to waste any more time or money litigating this matter, should be spared

further procedural gamesmanship by Plaintiff’s counsel, and should not be forced to suffer any

further delay.

            B. Judge Kendall Has Already Effectively Decided the Issue of
               “Consolidation” – Against the Plaintiff.

        Plaintiff argues that briefing on Mariano’s pending Motion to Dismiss should be stayed for

only one reason: the purported “strength of the consolidation motion pending before Judge Kendall

in Cunningham.” (Pl.’s Mo. to Stay, at ¶ 7). Contrary to what Plaintiff would like the Court to

believe, the proposed motion to re-consolidate is neither “pending,” nor “strong.”

        As noted above (supra., pp. 1-2), plaintiff’s counsel has not yet filed a motion to re-

consolidate this case with the Cunningham lawsuit. Rather, plaintiff’s counsel has merely sought

leave to file an enlarged brief in support of his supposedly forthcoming motion. See, Cunningham,

Dkt. 40. Thus, Plaintiff’s motion to stay is (technically) premised on a proposed motion that has

not yet been filed. But setting aside this technical matter, the issues raised in the proposed motion

for re-consideration have already been decided – repeatedly – against Plaintiff.

        In their Cunningham severance briefing, the parties addressed the very same issues that

will be litigated on a Rule 42 consolidation motion. The threshold requirement for consolidation

is whether the actions “involve a common question of law or fact.” FED. R. CIV. P. 42(a). That is

exactly the same issue that courts analyze in determining whether parties are properly joined




Cir. 1994). See also, McDonald v. Household Int’l, Inc., 425 F.3d 424, 427 (7th Cir. 2005). (plaintiff’s
failure to file amended complaint within time allotted by Court’s “without-prejudice” dismissal order,
turned the dismissal into “one with prejudice”). It is well-settled that “a suit that has been dismissed with
prejudice cannot be refiled; the refiling is blocked by the doctrine of res judicata.” Elmore v. Henderson,
227 F.3d 1009, 1011 (7th Cir. 2000); see also Semtek Int’l Inc. v. Lockheed Martin Corp., 531 U.S. 497,
506 (2001) (holding that that when a federal court dismisses claims with prejudice, that “bar[s] refiling of
the same claim” in federal court).

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together in a single suit. FED. R. CIV. P. 20(a)(1)(B) (providing that the second requirement for

proper joinder is “any question of law or fact common to all plaintiffs.”). Accordingly, in their

severance briefing, the parties thoroughly addressed whether the plaintiffs’ actions present any

common issues of law or fact. Mariano’s opening brief addressed the issue (Cunningham, Dkt. 12

at 12-13); Plaintiff’s response brief addressed the issue (Cunningham, Dkt. 22 at PageID #:89-90);

and Mariano’s reply brief addressed the issue (Cunningham, Dkt. 26 at PageID #:145-47). Judge

Kendall agreed with Mariano’s and granted severance. Cunningham, Dkt. 29.7

        Judge Kendall’s severance order came after nearly eight months of hard-fought litigation

between the parties. See, e.g., Cunningham Dkt. 11, Dkt. 29. Having already decided that

Plaintiff’s claims must be litigated in their own separate lawsuit, severed from the claims of any

other PSM plaintiff, Judge Kendall is unlikely to toss aside her carefully-considered ruling and

order these severed claims to be re-consolidated before her. This Court should not stay briefing

on a pending Motion to Dismiss, based on the contemplated filing of a potential motion in another

lawsuit – especially when that motion would almost certainly fail.

            C. Consolidation Would Not Support a Stay in Any Event.

        Even if it were likely that Judge Kendall would re-consolidate the very cases that she just

severed (an unlikely result), that would not constitute a valid reason to stay briefing on the pending

Motion to Dismiss. “Consolidation under Rule 42(a) does not merge two actions into one case.”

DeliverMed Holdings, LLC v. Schaltenbrand, No. 10-CV-684-JPG-DGW, 2010 WL 8751074, at

*4 (S.D. Ill. July 10, 2010). “On the contrary, each consolidated case retains its separate identity.”

Id. Accordingly, no matter whether the cases are re-consolidated with Cunningham and transferred



7
  The plaintiffs argued that, even where a putative collective action does not meet the standard of FLSA §
216(b), the individual claims can still “share common questions of law and/or fact such that joinder under
Rule 20 is permissible.” Cunningham, Dkt. 22 at 2. Judge Kendall, in granting severance, rejected outright
the plaintiffs’ “common questions of law and fact” argument. See Cunningham, Dkt. 29 at 6 n.1.

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back to Judge Kendall, this Plaintiff – and every other PSM plaintiff – will need to respond to

Mariano’s Motion to Dismiss. Thus, if the parties to this action simply follow the briefing

schedule, then in the unlikely event the case is transferred back to Judge Kendall, the Motion to

Dismiss will be fully-briefed and ready for decision. Granting a stay of that briefing would cause

undue delay, with no discernible benefit.

                                            CONCLUSION

         WHEREFORE, for all of the reasons set forth above, Defendant, Roundy’s Illinois, LLC

d/b/a Mariano’s, respectfully requests that the Court enter an Order denying Plaintiff’s Motion to

Stay Briefing Schedule.


Dated:    October 3, 2022                        Respectfully submitted,

                                                 ROUNDY’S ILLINOIS, LLC d/b/a
                                                 MARIANO’S, Defendant

                                                 By: /s/ Christopher S. Griesmeyer
                                                       One of Its Attorneys

Christopher S. Griesmeyer (# 6269851)
Zachary Mulcrone (# 6300387)
GREIMAN, ROME & GRIESMEYER, LLC
205 West Randolph Street, Suite 2300
Chicago, Illinois 60606
(312) 428-2750
cgriesmeyer@grglegal.com
zmulcrone@grglegal.com




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 3, 2022, I caused the foregoing to be electronically filed

with the Clerk of the Court via the CM/ECF System which will send notification of such filing to

those registered to receive electronic notices via email transmission at the email addresses provided

by them, including counsel of record for Plaintiffs:


                                          John W. Billhorn
                                        Samuel D. Engelson
                                        BILLHORN LAW FIRM
                                  53 W. Jackson Blvd., Suite 401
                                      Chicago, Illinois 60604
                                    jbillhorn@billhornlaw.com
                                   sengelson@billhornlaw.com




                                                            /s/ Christopher S. Griesmeyer
                                                       Christopher S. Griesmeyer (# 6269851)
                                                       GREIMAN, ROME & GRIESMEYER, LLC
                                                       205 West Randolph Street, Suite 2300
                                                       Chicago, Illinois 60602
                                                       (312) 428-2750
                                                       cgriesmeyer@grglegal.com

                                                       One of the Attorneys for Defendant,
                                                       Roundy’s Illinois, LLC d/b/a Mariano’s
